       Case 6:19-cv-00012-NKM-RSB Document 1-1 Filed 03/26/19 Page 1 of 8 Pageid#: 6
                             COMMONWEALTH OF VIRGINIA




                                     LYNCHBURG CIRCUIT COURT
                                             Civil Division
                                     900 COURT STREET P. O. BOX 4
                                         LYNCHBURG VA 24505
                                             (434) 455-2620

                                                Summons


        To: wAGMAN HEAVY CIVIL IN~                                         Case No. 680CL19000169-00
            CORPORATION SERVICE CO R/A
            100 SHOCKOE SLIP FL 2
            RICHMOND VA 23219-4100



        The party upon whom this summons and the attached complaint are served is hereby notified
        that unless within 21 days after such service, response is made by filing in the clerk's office
        of this court a pleading in writing, in proper legal form, the allegations and charges may be
        taken as admitted and the court may enter an order, judgment, or decree against such party
        either by default or after hearing evidence.
        Appearance in person is not required by this summons.

        Done in the name of the Commonwealth of Virginia on,Tuesday, February 26, 2019

         Clerk of Court: EUGENE C. WINGFIELD


                                by
                                                       (CLERK/DEPUTY CLERK )

   Instructions:



Hearing Official:




                    wATSON, J FREDERICK
Attorney's name:    2306 ATHERHOLT ROAD
                    P O BOX 6320
                    LYNCHBURG VA 24505
Case 6:19-cv-00012-NKM-RSB Document 1-1 Filed 03/26/19 Page 2 of 8 Pageid#: 7



VIRGINIA:

           IN THE CIRCUIT COURT FOR THE CITY OF LYNCHBURG


BRADLEY/THORNHILL, LLC,
a Virginia limited liability company,

and

LAND GROUP, A LIMITED PARTNERSHIP,
a Virginia limited partnership,

                          Plaintiffs,
v.                                                   Case No...   d&9-1401
WAGMAN HEAVY CIVIL, INC.
a Pennsylvania corporation,

Serve: Corporation Service Company, Registered Agent
        100 Shockoe Slip, Fl. 2
        Richmond, VA 23219-4100
        (City of Richmond)

                          Defendant.


                                     COMPLAINT

      Comes now the plaintiffs, Bradley/Thornhill, LLC ("Bradley/Thornhill"),

and Land Group, a Limited Partnership ("Land Group"), by counsel, and for

their Complaint against the defendant, Wagman Heavy Civil, Inc. ("Wagman"),

respectfully states the following:


                                     The Parties
      1.     Plaintiff Bradley/Thornhill is a limited liability company organized

under the laws of the Commonwealth of Virginia and having its principal place

of business in the City of Lynchburg, Virginia.
  Case 6:19-cv-00012-NKM-RSB Document 1-1 Filed 03/26/19 Page 3 of 8 Pageid#: 8



        2.    Plaintiff Land Group is a limited partnership organized under the
  laws of the Commonwealth of Virginia and having its principal place of
  business in the City of Lynchburg, Virginia.
        3.    Upon information and belief, defendant Wagman is a corporation

  organized under the laws of the Commonwealth of Pennsylva.nia and having its

  principal place of business in York County, Pennsylvania. The principal office

  of Wagman is located at 3290 North Susquehanna Trail, York, Pennsylvania

  17406.

                              Count I- Breach of Contract
        4.    Plaintiff Bradley/Thornhill owns, and at all times relevant to this

! matter owned, certa.in real property located in the City of Lynchburg, consisting

 of approximately 3.076 acres and identified as Parcel ID No. 115-01-012.

        5.    Plaintiff Land Group owns, and at all times relevant to this matter

 owned, certain real property located in the City of Lynchburg, consisting of

 approximately 12.613 acres and identified as Parcel ID No. 115-01-020.

        6.    By written contract dated March 10, 2016, by and between the

  plaintiffs and Wagman, the plaintiffs agreed to allow Wagman to remove

  Borrow Material from their respective properties. As consideration for the

 Borrow Material, Wagman agreed to leave the plaintiffs' properties drained and

 seeded in accordance with Virginia Department of Transportation and City of
 Lynchburg specifications and left to the plaintiffs' satisfaction. A copy of the

  parties contract is attached hereto as "Exhibit A" and is made a part hereof.




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Case 6:19-cv-00012-NKM-RSB Document 1-1 Filed 03/26/19 Page 4 of 8 Pageid#: 9



      7.        Pursuant to the contract, Wagman removed significant amounts of
Borrow Material from the plaintiffs' properties for use by Wagman in the
construction of the new US 29/460 interchange and roadway extension project
at Odd Fellows Road in the City of Lynchburg.
      8.        Despite its contract with the plaintiffs, and despite removing

significant amounts of valuable Borrow Material from the plaintiffs' properties,

and despite repeated demands by the plaintiffs, Wagman failed to leave the

properkies drained and seeded in accordance with Virginia Department of

Transportation and City of Lynchburg specifications and to the plaintiffs'

satisfaction.

      9.        Wagman's failure and refusal to leave the properties drained and

seeded in accordance with Virginia Department of Transportation and City of

Lynchburg specifications, and to the plaintiffs' satisfaction, constitutes a

breach of contract for which the plaintiffs' are entitled to be compensated.

      10.    As a direct consequence of Wagman's breach of contract, the

plaintiffs will have to expended large sums of -money to drain a.nd seed the

properties in accordance with Virginia Department of Transportation and City

of Lynchburg specifications, and the plaintiffs have otherwise suffered damages

in the amount of $1,300,000.00.


                           Count II - Un3ust Earichmeat
      11.   The plaintiffs adopt and reallege paragraphs 1 through 10 of this
Complaint as if set forth in full here.



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Case 6:19-cv-00012-NKM-RSB Document 1-1 Filed 03/26/19 Page 5 of 8 Pageid#: 10



      12.    The plaintiffs' provision of Borrow Material to and for the benefit of

Wagman conferred a direct, substantial, and valuable benefit to Wagman.

      13.    Wagman was fully aware of the benefit that was being conferred

upon it by the plaintiffs' provision of Borrow Material to and for the benefit of

Wagman.

      14.    Wagman accepted, removed, and used for its pecuniary benefit

over 300,000 cubic yards of Borrow Material provided by the plaintiffs.

      15.    It is, and would be, inequitable for Wagman to retain and enjoy the

benefits conferred upon it by the plaintiffs without paying for the value of such

benefits.

      16.    To permit Wagman to retain the benefits conferred upon it by, the

plaintiffs, without paying for the value of those benefits, w,ould result in the

unjust enrichment of Wagman.

      17.   The value of the benefits conferred upon Wagman by the plaintiff is

$2,500,000.00.


                            Demaad for Trial by Jury

      18.    Bradley/Thornhill and Land Group hereby demand a trial by jury.


      WHEREFORE, the plaintiffs respectfully pray the Court for the entry of

an order granting to the plaintiffs judgment against the defendant for breach of

contract in the amount of ONE MILLION THREE HUNDRED THOUSAND

DOLLARS ($1,300,000.00) or, alternatively, for unjust enrichment in the

amounts of TWO MILLION FIVE HUNDRED THOUSAND DOLLARS


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Case 6:19-cv-00012-NKM-RSB Document 1-1 Filed 03/26/19 Page 6 of 8 Pageid#: 11



($2,500,000.00), together with interest at the legal judgment rate until paid, their

costs on their behalf expended, and for such other and further relief as the nature of

this case may require.


                                 BRADLEY/THORNHILL, LLC, and
                                 LAND GROU'P, a LIMITED PARTNERSHIP




James Frederick Watson, Esquire
VSB No. 40322
CASKIE 8s FROST
P. O. Box 6320
2306 Atherholt Road
Lynchburg, Virginia 24505
Telephone: (434) 846-2731
Facsimile: (434) 846-0496
fwatson@caskiefrost.com




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     Case 6:19-cv-00012-NKM-RSB Document 1-1 Filed 03/26/19 Page 7 of 8 Pageid#: 12

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  Case 6:19-cv-00012-NKM-RSB Document 1-1 Filed 03/26/19 Page 8 of 8 Pageid#: 13
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